                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION



JOHN DOE,                                           )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  ) Case No.: 3:19-CV-00038-GEC
                                                    )
RECTOR AND VISITORS OF THE                          )
UNIVERSITY OF VIRGINIA, ET AL.                      )
                                                    )
               Defendants.                          )

                 DEFENDANT UNIVERSITY OF VIRGINIA’S
     SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION
                    FOR PRELIMINARY INJUNCTION

        Defendant Rector and Visitors of the University of Virginia (University) and the

individual Defendants, by counsel, pursuant to Rule 65 of the Federal Rules of Civil Procedure,

respectfully request that this Court deny Plaintiff’s motion for injunctive relief and permit the

University to move forward and complete the student’s disciplinary proceedings involving Mr.

Doe.    The University incorporates by reference its prior Memorandum in Opposition to

Plaintiff’s Motion. (Doc. 6).

                                    I. Preliminary Statement

        The University issued a Notice of Investigation to Plaintiff on August 8, 2018 under its

Title IX Policy. Joint Stip. ¶ 1 (Doc. 45; pageid# 326-27). At that time, Plaintiff was a

University student who was registered and enrolled at the University.            The Notice of

Investigation notified Plaintiff that the University was initiating an investigation for sexual

assault and sexual harassment, incorporated the Title IX Procedures, outlined the investigation

and adjudication process, and identified the potential sanctions for the reported Prohibited




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Conduct. Id. The reported sexual assault by Plaintiff occurred in April 2017. At the time the

reported sexual assault occurred (April 2017), Plaintiff was a University student who was

registered and enrolled at the University. Pl. Compl. ¶ 38 (Doc. 1; pageid# 9). Plaintiff’s

contention that the University somehow lost authority to investigate, adjudicate, and sanction

Plaintiff, if found responsible, for misconduct Plaintiff allegedly committed while he was an

enrolled student and based on an investigation that commenced while he was an enrolled student,

because he completed the academic requirements necessary to obtain a University degree

pending resolution, finds no support from the University’s Title IX policy. Moreover, Plaintiff’s

proffered construction of the Title IX Policy results in an inconsistent application of the

University’s Title IX Policy to students, employees, and third parties. It also is contrary to thie

Court’s prior decisions interpreting the scope of the University’s disciplinary authority.

       At the time an investigation is commenced, the Title IX Coordinator and the Evaluation

Panel determine (1) whether the reported misconduct, if substantiated, would constitute

Prohibited Conduct under the Title IX policy, and (2) whether the University has authority over

the individual identified as the Respondent. This determination looks at both the status of the

respondent at the time the alleged Prohibited Conduct occurred and his/her status at the time the

investigation is commenced. The Title IX Policy is written and intended to have a broad scope

and to reach not only Prohibited Conduct by and against “Students” and “Employees,” but also

Prohibited Conduct committed by and against “Third Parties.”            The Title IX Policy and

Procedures acknowledge that the scope of available remedies may be impacted by the nature of

the relationship between a respondent and the University, but nowhere do they state or imply that

the University’s authority over individuals will expire because a respondent may voluntarily (or

involuntarily) sever his/her relationship with the University while an investigation is pending.




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Plaintiff’s interpretation also would create a perverse incentive and virtually no recourse for

those respondents who commit a Title IX offense shortly before their graduation. Importantly,

the University has consistently applied its Title IX Policy in this way – continuing to investigate

and adjudicate reports of Prohibited Conduct that arose while an individual was a student or

employee even if that relationship ends during the pendency of the investigation.               The

University’s application of its Title IX Policy and Procedures to Plaintiff is supported not only

by the language of the University’s documents and its consistent practices, but also by prior

decisions of this Court that have construed the University’s authority over former students. See,

e.g., Padula v. Rector & Visitors of the Univ. of Va., Civil Action No. 3:98CV00047 (W.D.Va.

June 24, 1998) (attached); Doe v. Ackerly, et al., Civil Action Nos. 3:02CV00030 &

3:02CV00031 (W.D.Va. Mar. 21, 2002) (attached).              Most importantly, there is nothing

constitutionally impermissible about the University’s policy decision to interpret and apply its

disciplinary rules consistently in this way.

       Plaintiff also seeks to buttress his entitlement to injunctive relief by alleging various

procedural irregularities in the University’s process. But it is well settled that to obtain the

extraordinary injunctive relief he seeks, Plaintiff must demonstrate that the University’s Title IX

Policy violates due process. That is, Plaintiff must establish more than a contested departure

from the University’s Title IX Policy, but a constitutional violation. Plaintiff has failed to do so

in this case. The Court therefore should deny his request for injunctive relief and permit the

University to conclude its disciplinary process involving Plaintiff.

                                     II. Standard of Review

       This Court is familiar with the well-settled standard Plaintiff must meet to obtain an

extraordinary remedy of preliminary injunctive relief. See Winter v. Nat. Res. Def. Council,




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Inc., 555 U.S. 7, 20 (2008). Preliminary injunctive relief is an “extraordinary” remedy that

should be granted sparingly and only in limited circumstances. In re Microsoft Corp. Antitrust

Lit., 333 F.3d 517, 526 (4th Cir. 2003). As a “condition precedent” to preliminary injunctive

relief, Plaintiff must show that the relief is necessary “to prevent harm that is both irreparable

and immediate.” Direx Israel, Ltd. V. Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir.

1991) (“[T]he required ‘irreparable harm’ must be neither remote nor speculative, but actual and

imminent.”) The Court engages in a four-factor balancing test to determine whether to grant the

requested relief. In re Microsoft, 333 F.3d at 527. Those four factors are: (1) the likelihood of

irreparable harm to the Plaintiff if the requested relief is not granted; (2) the likelihood of harm

to the defendant if the relief is granted; (3) the likelihood that Plaintiff will succeed on the

merits; and (4) the public interest. Id.; Direx Israel Ltd., 952 F.2d at 811. Plaintiff bears the

burden of establishing that each of the four factors supports granting an injunction. Direx Israel

Ltd., 952 F.2d at 812. Moreover, Plaintiff must make a “clear showing” he is entitled to relief. Real

Truth About Obama, Inc. v. FEC, 575 F.3d 342, 347 (4th Cir. 2009) vacated on other grounds by 130

S. Ct. 2371 (2010) reaffirmed, in part, on reconsideration by 607 F.3d 355 (4th Cir. 2010). This

clear showing requires all four requirements to be satisfied. Id.

       Plaintiff also continues to ignore the material distinction between a prohibitive and a

mandatory injunction. Plaintiff does not merely ask this Court to maintain the status quo, he

requests that this Court direct the University to confer an academic degree. But “when the

preliminary injunction is ‘mandatory rather than prohibitory in nature,’ this Court’s ‘application

of this exacting standard of review is even more searching.’” In re Microsoft, 333 F.3d at 525.

This Court’s authority “to issue a preliminary injunction especially a mandatory one should be

sparingly exercised. Mandatory preliminary injunctions do not preserve the status quo and

normally should be granted only in those circumstances when the exigencies of the situation


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demand such relief.” Wetzel v. Edwards, 635 F. 2d 283, 286 (4th Cir. 1980). Plaintiff has not

satisfied the more exacting standard which would be required to compel the University to issue a

degree while its disciplinary process remains pending. See Doe v. George Washington Univ.,

305 F. Supp. 126 (D.D.C. 2018) (denying plaintiff’s motion for injunctive relief to enjoin

suspension and confer degree following finding of responsibility for sexual assault).

                                         III. Argument

       The University’s Title IX process occurs under one of three student disciplinary systems

which, in combination, are intended by the University to address a broad scope of student

misconduct that occurs on and off-Grounds. The University’s Honor Code applies to lying,

cheating, or stealing, that occurs on and off-Grounds. The University’s Standards of Conduct

(prohibiting physical assaults, intentional or reckless threats to health or safety, disruption,

disorderly conduct, property damage, etc.) applies to student misconduct that occurs on or off-

Grounds. And the University’s Title IX Policy (prohibiting sexual or gender-based harassment,

sexual assault, stalking, intimate partner violence, etc.) applies to misconduct specifically of a

sexual or gender-based nature that occurs on or off-Grounds. Like the University’s Honor Code

and its Standards of Conduct, the University’s Title IX Policy addresses a wide spectrum of

misconduct.

       The University’s Title IX Policy generally “prohibits Sexual Assault, Sexual

Exploitation, Intimate Partner Violence, Stalking, Sexual or Gender-Based Harassment,

Complicity in the commission of any act prohibited by this policy, and Retaliation against a

person for the good faith reporting of any of these forms of conduct or participation in any

investigation or proceeding under this policy (collectively, ‘Prohibited Conduct’). These

forms of Prohibited Conduct are unlawful, undermine the character and purpose of the




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University, and will not be tolerated.” Joint Stip. Ex. 3 (Doc. 45-3; pageid# 340-41). The

University’s Title IX Policy thus intends to reach the broadest possible spectrum of sexual or

gender-based misconduct that may impact the University’s programs and its students,

faculty, staff, and third parties. The Title IX Policy expressly applies to misconduct “by or

against” Students, Employees, and Third Parties. Joint Stip. Ex. 3 (Doc. 45-3; pageid# 341).

The Title IX policy expressly applies to misconduct that occurs on Grounds; that occurs in

the context of University employment, program, or activity; and to misconduct that occurs

off Grounds, and outside of University employment, program, or activity, if the misconduct

(1) has continuing adverse effects on, or (2) creates a hostile environment for Students,

Employees, or Third Parties on Grounds or in University employment, program, or activity.

Joint Stip. Ex. 3 (Doc. 45-3; pageid# 341-42).

       The University has concluded that a student’s commission of a sexual assault

occurring off-Grounds, if substantiated by a preponderance of the evidence, has a

“continuing adverse effect” on other University students, programs, and activities. Plaintiff

contends that the University’s interpretation of its Title IX Policy is “so extreme as to be a

violation of due process” and therefore is constitutionally impermissible. Plaintiff cites no

precedent suggesting that the University’s interpretation of its Title IX Policy – i.e., that it

has authority to investigate and, if appropriate, sanction a student’s commission of a sexual

assault occurring within miles of the University’s Grounds – is “extreme” or constitutionally

impermissible.   This Court’s prior decisions provide the University broad authority to

investigate, adjudicate and punish student misconduct – even after that student completes the

academic requirements necessary to obtain a degree.




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       The University respectfully submits the same outcome should follow in this case and

the Court should deny Plaintiff’s request for injunctive relief, permitting the University to

proceed and to conclude its disciplinary process involving Plaintiff.

A.     The University Has Authority to Adjudicate a Student’s Misconduct that Occurred While
       He Was a Student – Even After the Student Separates from the University.

       For nearly twenty years, this Court has affirmed the University’s authority to investigate

and adjudicate misconduct that was committed while a student was enrolled, even after the

student has completed the requirements necessary to graduate. See Goodreau v. Rector &

Visitors of the Univ. of Va., 116 F.Supp.2d 694 (W.D.Va. 2000) (granting University’s motion

for summary judgment on plaintiff’s declaratory judgement claim and holding that University

has implied power to revoke the degree of former student). In Goodreau, a student reportedly

stole money, but the theft went undetected until after the student had graduated and received his

degree. See id. at 698. After the theft was discovered, the student was reported to the police and

to the University’s Honor Committee. After protracted proceedings before the University’s

Honor Committee, the University’s General Faculty ultimately revoked the student’s degree

eight years after he had graduated from the University.        See id. at 699.     Affirming the

University’s authority and its power to revoke a degree of a former student for misconduct

committed while a student, this Court recognized that “degree revocation is reasonably necessary

to effectuate the Board’s power to confer degrees and to regulate student discipline . . .” Id. at

703 (emphasis supplied). This Court reasoned that the University’s degree is a “certification to

the world at large of the recipient’s educational achievement and fulfillment of the institution’s

standards.” Id. (emphasis supplied) (quoting Waliga v. Board of Trustees of Kent State Univ.,

488 N.E.2d 850, 852-53 (Ohio 1986)). As in Goodreau, the University’s conferral of a degree to

Mr. Doe in this case would be its certification that Doe not only completed the academic



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requirements necessary to graduate, but also that he complied with the University’s standards

while a student, including compliance with the Title IX Policy prohibiting sexual assault – a

determination that the University has not yet made, because its Title IX process has not yet

concluded. Importantly, this Court in Goodreau recognized that the University’s authority and

its power to sanction former students was not limited only to academic misconduct, but included

violations of other institutional standards such as theft. Id. at 703 (stating “the fact that these

[cited] cases all dealt with academic misconduct, as opposed to a disciplinary infraction such as

the one involved in the present case, does not weaken their value as authority, for the rationale

set forth in those opinions also applies to the University’s ability to revoke a degree for a

violation of the Honor System.”)      Accord Greene v. University of Va., Civil Action No.

3:00CV0006 (W.D.Va. Apr. 17, 2000) (dismissing plaintiff’s claim as time barred where

University revoked plaintiff’s degree three years after graduation for writing bad checks while

she was a student) (attached). The University’s authority over Plaintiff in this case is even

stronger than in Goodreau, where the University already commenced its investigation while

Plaintiff was a student and before he completed the academic requirements to obtain a degree.

As Plaintiff concedes, he was on notice during most of his fourth year that he was under

investigation for sexual assault and the nature of the penalties that could be imposed if he was

found responsible for that Prohibited Conduct.

       In a case strikingly similar to this one, this Court denied injunctive relief to prevent the

initiation and conclusion of student disciplinary proceedings against two former University

students. See Doe v. Ackerly, et al., Civil Action Nos. 3:02CV00030 & 3:02CV00031 (W.D.Va.

Mar. 21, 2002) (attached). In Doe, two former University students sought injunctive relief to

prevent disciplinary proceedings by the University’s Honor Committee from moving forward.




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One former student (John Doe) previously had graduated from the University and received his

degree. Id. at 2. The other former student (Jane Doe) had transferred to another institution. Id.

Although the alleged offenses occurred when they were students at the University, both students

argued that the University’s Honor Committee lacked jurisdiction to adjudicate the claims

against them because they no longer were students at the University at the time of the

proceedings.   Id. at 2-4.    Plaintiff Jane Doe specifically argued that because the Honor

Committee By-Laws did not explicitly extend to a former student, the Honor proceedings against

her should be enjoined. Rejecting Jane Doe’s request for injunctive relief, this Court reasoned

that Jane Doe relied on a “dubious interpretation” of a single provision in the Honor

Committee’s By-laws that she read in isolation and that she did not take into account other By-

Laws provisions.

       Similarly, in this case, Plaintiff demands a cabined interpretation of the scope of the Title

IX Policy. Plaintiff’s interpretation creates internal inconsistency within the Title IX Policy.

Plaintiff’s interpretation also is inconsistent with the larger student disciplinary system and

policies governing student misconduct at the University.

       Plaintiff’s argument regarding the University’s authority over Doe fails to acknowledge

that the University’s Title IX Policy on its face reaches beyond current Students and Employees

and also applies to Prohibited Conduct committed by and against “Third Parties.”

       This policy applies to Students who are registered or enrolled for credit- or non-
       credit-bearing coursework (“Students”); University employees, consisting of all
       full-time and part-time faculty, University Staff, Medical Center employees and
       classified staff, wage (including temps), professional research staff, and post-
       doctoral fellows (“Employees”); and contractors, vendors, visitors, guests or other
       third parties (“Third Parties”). This policy pertains to acts of Prohibited Conduct
       committed by or against Students, Employees and Third Parties . . .




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Joint Stip. Ex. 3 (Doc. 45-3; pageid# 341). The fact that the University’s Title IX Policy

expressly covers not only Students and Employees, but also Third Parties, undercuts Plaintiff’s

contention that the University by and through the Title IX Policy somehow ceases to have

authority over Plaintiff for misconduct reportedly committed while he was a student after he

completed his degree requirements. Thus, even if this Court were to adopt Plaintiff’s constrained

reading of the University’s Title IX Policy, the University nonetheless would retain authority to

adjudicate the report of Prohibited Conduct against Doe as a “Third Party” under the Title IX

Policy. See Id. (pageid# 342). (“Third Parties who commit Prohibited Conduct may have their

relationships with the University terminated and/or their privileges of being on University

premises withdrawn.”); Id. (pageid# 343) (“The University’s ability to take corrective action

against a Third Party will be determined by the nature of the relationship of the Third Party to the

University.”) Id. (pageid# 349) (“There is no time limit for reporting Prohibited Conduct to the

University under this policy; however, the University’s ability to respond may diminish over

time . . . and Respondents may no longer be affiliated with the University.”) (emphasis supplied).

Importantly, while the Title IX Policy acknowledges that “the University’s ability to respond

may diminish,” it does not state or even imply – as Plaintiff argues – that the University’s ability

to respond expires, terminates, or otherwise is extinguished. Thus, merely reclassifying himself

from a “Student” to a “Third Party” does not extinguish the University’s authority to investigate,

adjudicate, and sanction, if appropriate, Plaintiff for sexual assault. And this Court’s precedent

makes clear that the University’s continued authority to sanction Plaintiff, up to and including

refusing to grant Plaintiff’s degree for misconduct he committed while he was a student, is not a

constitutional due process violation.




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       In the Doe cases, when rejecting John Doe’s request for preliminary injunction, this

Court also found that the University’s established practice of construing and applying its

governing documents supported its interpretation of the policy as to John Doe. Id. at 13 (noting

“there is the longstanding and well-known practice of the Honor Committee to initiate

proceedings against former students well after they have graduated.”)             While Title IX

proceedings, like Honor proceedings, are confidential, Plaintiff has acknowledged in his

Complaint a general awareness of the University’s interpretation and application of the Title IX

Policy in other cases. See Pl. Compl. ¶ 92 (Doc. 1; pageid# 20) (alleging what Plaintiff refers to

as University’s “pattern of misapplication of the Title IX Policy” – i.e., application of the Title

IX Policy to students in similar factual settings as Plaintiff). Indeed, as in the Doe cases, the

University’s consistent interpretation and application of the Title IX Policy supports its

application to Plaintiff in this case. The University has consistently applied the Title IX Policy,

like its Judiciary and Honor policies, to Prohibited Conduct occurring off-Grounds. Babb Decl.

¶ 9. In the past two academic years, the University has initiated Formal Resolution under the

Title IX Policy in 39 cases involving off-Grounds Prohibited Conduct. Id. During that same

time, the University has initiated Formal Resolution under the Title IX Policy in 15 cases where

a complainant was a Third Party, former student, or former employee.              Id.   Thus, the

University’s application of its Title IX Policy to Plaintiff’s misconduct in the case is neither an

aberration, nor an “extreme” one.

       Similarly, just as it does in Judiciary and Honor proceedings, the University has

continued to retain authority to investigate and adjudicate reports of Prohibited Conduct by

students (and employees) who may separate from the University before their Review Panel

proceedings have concluded. Babb Decl. ¶ 10. In the prior three academic years, the University




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has issued 18 degree holds for students who were in a pending Formal Resolution pursuant to the

Title IX Policy. Babb Decl. ¶ 10. While the University’s Title IX Procedures acknowledge that

the University’s sanctions and corrective measures may be more limited after a student or

employee ends his or her relationship with the institution, effective sanctions and protective

measures remain available to the University even post-separation. 1 The University has imposed

effective sanctions in prior Title IX cases involving former students.            Babb Decl. ¶ 11

(identifying sanctions in other Title IX cases involving former students including expulsion,

suspension of degree conferral for a specific period, prohibition from re-enrollment at the

University, prohibition from attending Finals Exercises, and No Trespass Orders”). 2 Thus, the

University’s consistent interpretation and application of its Title IX Policy are far from

Plaintiff’s suggestion that its application in his particular case is “so extreme as to be a violation

of due process.”


1
 With regard to available sanctions, the Title IX Procedures provide the following:
        The Policy prohibits a broad range of conduct, all of which is serious in nature.
        The propriety of any particular sanction is reviewed on an individual basis based
        on the unique facts and circumstances as found by the Review Panel. In keeping
        with the University’s commitment to foster an environment that is safe, inclusive,
        and free from discrimination and harassment, the Policy provides the Review
        Panel with wide latitude in the imposition of sanctions tailored to the facts and
        circumstances of the Prohibited Conduct, the impact of the conduct on the
        Complainant and University community, and accountability by the Respondent.
        The imposition of sanctions is designed to eliminate the Prohibited Conduct,
        prevent its recurrence, and remedy its effects, while supporting the University’s
        educational mission and legal obligations. Sanctions may include educational,
        restorative, rehabilitative, and punitive components. Some conduct, however, is
        so egregious in nature, harmful to the individuals involved or so deleterious to the
        educational process that it requires severe sanctions, including suspension or
        expulsion from the University.
Joint Stip. Ex. 4 (Doc. 45-4; pageid# 376-77) (emphasis supplied).
2
  The University also has a consistent interpretation and application of its Title IX Policy
regarding employees who separate from the University before the conclusion of their pending
Formal Resolution before a Review Panel. In such cases, the University has imposed sanctions
against former employees including ineligibility for rehire, exclusion from certain post-


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       In the Doe cases, this Court identified the exact constitutional question: Did Plaintiff

have notice that the University intended to proceed against him? Id. at 12. Consistent with this

Court’s reasoning in the Doe cases, from the time the University issued the Notice of

Investigation against Plaintiff on August 8, 2018, Plaintiff was fully aware of the University’s

intent to investigate, adjudicate, and sanction , if appropriate, Plaintiff under the Title IX Policy.

Indeed, the constitutional propriety of the University’s application of its Title IX Policy to

Plaintiff in this case is even stronger than the Doe cases, where the University has initiated its

disciplinary process and put Plaintiff on notice while he still was a student that it intended to

investigate and potentially sanction him.

       Plaintiff contends that the University’s conclusion – i.e., that Plaintiff’s reported off

Grounds sexual assault has “continuing adverse effects” on the University community – violates

the Constitution. This is a novel theory and one that no doubt would be astonishing to thousands

of parents who send their sons and daughters to the University assuming that consistent with the

Title IX Policy, the University “is committed to providing a safe and non-discriminatory

learning, living and working environment.” See Joint Stip. Ex. 3 (Doc. 45-3; pageid# 340).

Plaintiff’s contention that the University may investigate and punish simple assault occurring off

Grounds (pursuant to the Standards of Conduct) and petty theft occurring off Grounds (pursuant

to the Honor System), but not investigate and punish sexual assault occurring off Grounds is both

antithetical and strains credulity. In construing the Title IX Policy’s “continuing adverse effects”

nexus, the University is cognizant that the Title IX Policy prohibits a broad range of conduct and,

while all of it is significant, some types of conduct may or may not have continuing adverse

effects on the University community. If a preponderance of the evidence demonstrates, however,



employment benefits, and No Trespass Orders. Babb Decl. ¶ 11.


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that Plaintiff committed a sexual assault off-Grounds, the University certainly should have the

prerogative to determine at the time it commences an investigation that such egregious

misconduct would have continuing adverse effects on the University community and fashion

sanctions under the Title IX Policy that ameliorates those effects – in addition to holding the

Plaintiff responsible for such conduct that he committed while he was a University student.

       Plaintiff contends that since the University did not interim suspend him and he was

allowed to continue participating in University activities while under investigation, that

somehow forecloses the University’s determination that his sexual assault, if established in the

Review Panel proceeding, has a continuing adverse effect on the University community. 3 The

Court should reject Plaintiff’s post-incident behavior as a means of exempting himself from the

application of the Title IX Policy. The University certainly has the authority to issue an interim

suspension while a matter is being investigated – and it has done so in appropriate cases. Babb

Decl. ¶¶ 12-15.     Even though interim suspensions are deemed to be non-punitive, they

nonetheless have a significant impact on a respondent – who is denied the opportunity to

continue attendance at the University before a finding of responsibility has occurred. The

University’s Title IX Policy provides that Plaintiff (and all respondents) are presumed to be not

responsible for Prohibited Conduct unless and until a preponderance of the evidence

demonstrates otherwise. See Joint Stip. Ex. 4 (Doc. 45-4; pageid #369) (“The Respondent is

presumed to be not responsible; this presumption may be overcome only where the Investigator

and/or Review Panel conclude that there is sufficient evidence, by a Preponderance of the



3
  Plaintiff submits that his alleged misconduct did not have any continuing adverse effects on the
University community because he was not reported for any additional misbehavior while the
investigation was pending. But Plaintiff cannot exempt himself from the scope of the
University’s Title IX Policy merely by being on “good behavior” while he is subject to an on-
going investigation for sexual assault.


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Evidence, to support a finding that the Respondent violated the Policy.”).     The University in

each case engages in lengthy multi-factor analysis to determine whether and, if so, which interim

protective measures are necessary. Babb Decl. ¶¶ 12-13. The University has the power to

impose an interim suspension in cases that warrant such an interim measure, but because of the

presumption of non-responsibility and because no investigation has yet occurred at the

Evaluation Panel stage, the University seeks to limit the application of the pre-investigation

interim suspension to only those cases that absolutely require it. Babb Decl. ¶ 15. In the past

two-and-one-half years, the University has interim suspended seven students who were

respondents in a pending formal resolution. Id. Of those, five students ultimately were expelled

from the University at the conclusion of disciplinary process. Id. More importantly, however,

nothing in the University’s Title IX Policy or in the University’s consistent application of its

policy, ever has indicated or suggested to Plaintiff (or any other respondent) that the University

somehow will lose authority to adjudicate reports of Prohibited Conduct against them simply

because the University did not impose more drastic interim protective measures, such as an

interim suspension. Babb Decl. ¶ 14. 4

       Finally, Plaintiff contends that he has not – and will not – have an adequate opportunity

to be heard on his assertion that the University lacks authority over him. The procedural history

of this case rebuts Plaintiff’s argument in two ways. Plaintiff was notified on August 8, 2018,



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  Although Plaintiff’s supplemental affidavit and memorandum continue to conflate interim
“remedial” and “protective” measures, they have distinct meanings under the University’s Title
IX Policy and Procedures. Interim “remedial” measures are those directed to the complainant to
alleviate the immediate impact of the reported Prohibited Conduct while the investigation occurs.
Interim “protective” are those directed to the Respondent to reduce the likelihood of continued
acts of Prohibited Conduct. In a case such as this one, where the reported misconduct was
targeted to an unaffiliated person, the University’s Evaluation Panel appropriately determined
that interim suspension, imposition of a No Contact Order (which is enforceable only on-
Grounds), or temporary modification of Plaintiff’s class schedule was not necessary.


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regarding the scope of the University’s investigation against him which included sexual assault

and sexual harassment. See Joint Stip. Ex. 2 (Doc. 45-2; pageid# 334) (“This report raises

potential policy violations under the University’s [Title IX Policy] for: Sexual Assault and

Sexual Harassment”). During the course of the investigation, however, the University’s Title IX

Investigator determined that the reported sexual harassment was not within the scope of the Title

IX Policy. Accordingly, when the University issued the Draft Investigation Report to the parties,

it notified them that no further investigation of the sexual harassment allegation would occur and

the investigation would proceed only on the sexual assault report. This determination was

reconfirmed in the Final Investigation Report. See Final Investigation Report at 2 n.3 (Doc. 7-2)

(“In the Draft Investigation Report issued on December 18, 2018, both parties were notified that

the Investigator determined that the Complainant was not a University student at the time of the

alleged incident and based upon the Complainant’s status as a third-party, could not be

unreasonably interfered with, limited or deprived from participating in or benefiting from the

University’s education or employment programs and/or activities, as required by the Title IX

Policy of Sexual Harassment.”)       Thus, contrary to Plaintiff’s claim in this lawsuit, the

University’s Formal Resolution process not only is theoretically capable of reaching

determinations of the scope of the Title IX Policy during the course of its proceedings, it did so

in this case with regard to the allegation of sexual harassment by Plaintiff. Despite the Title IX

Coordinator’s determination regarding the sexual harassment allegation, however, the University

continued to have authority to investigate the Plaintiff’s reported sexual assault under the Title

IX Policy. Plaintiff continued to be on notice when the Draft Investigation Report was issued in

December 2018 and thereafter when the Final Investigation Report was issued in May 2019 that

the University intended to proceed with the investigation and adjudication of Plaintiff’s reported




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sexual assault. Plaintiff curiously cites the University’s determination on his sexual harassment

claim as support for his need for injunctive relief when, in fact, it is just the opposite. The

University’s determination in the Draft Investigation Report that the Title IX Policy did not

apply to the report of sexual harassment demonstrates that there were multiple opportunities for

Plaintiff to raise – and for the University to consider – the scope and application of the Title IX

Policy to the report of sexual assault by Plaintiff. When Plaintiff finally raised the applicability

of the Title IX Policy in his response to the Final Investigation Report in May 2019, the

University considered and rejected it. Babb Decl. ¶ 16.

       After the University issued the Final Investigation Report recommending a finding that

Plaintiff was responsible for a sexual assault committed while he was a student, Plaintiff asserted

that the scope of the Title IX Policy did not reach his misconduct. See Joint Stip. Ex. 11 (Doc.

45-11; pageid# 401). In his May 28, 2019, letter to Ms. Babb, Plaintiff stated:

       13. Finally, the University lacks jurisdiction over this matter under its
       own Policy. The Complainant is not affiliated with the University in any
       capacity, as the investigator wrote in the FIR. No other provision in the
       Policy confers jurisdiction over this matter.

Joint Stip. Ex. 11 (Doc. 45-11; pageid# 401).        Ms. Babb considered Plaintiff’s contention

regarding the scope of the Title IX Policy and rejected it. Babb Decl. ¶ 16. She thereafter issued

on June 5, 2019, the Notice of Hearing for Plaintiff’s Review Panel. Id. Thus, Plaintiff’s claim

that he has been unable to adequately raise his objection regarding the scope of the Title IX

Policy is not correct. Plaintiff’s contention that he should get a “jury trial” (before the Review

Panel) or some further “appeal” of Ms. Babb’s determination to some higher authority does not

constitute a violation of his substantive or procedural due process. The University evaluated the

application of the Title IX Policy when it issued the Notice of Investigation in August 2018; it

re-evaluated the application of the Title IX Policy when it issued the Draft Investigation Report



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(in which it discontinued investigation of the sexual harassment claim) in December 2018; it re-

evaluated the application of the Title IX Policy when it issued the Final Investigation Report (in

which it recommended a finding of responsibility of sexual assault) in May 2019; and it re-

evaluated the application of the Title IX Policy when Plaintiff objected to the application of the

Policy in his response to the Final Investigation Report and it rejected Plaintiff’s assertion when

it issued the Notice of Review Panel Hearing on June 5, 2019. Id. Plaintiff, in essence, is

seeking from this Court an “interlocutory appeal” of the University’s determination – not

because he has been prevented from raising an objection in violation of due process, but because

he disagrees with the University’s decision and its interpretation of its Title IX Policy. This

Court previously has declined to intercede in University disciplinary proceedings under such

circumstances and it should decline to do so here.          See, e.g., Doe, Civil Action Nos.

3:02CV00030 & 3:02CV00031 (W.D.Va. Mar. 21, 2002) (denying plaintiffs’ motion for

injunctive relief to prevent conclusion of Honor proceedings against former students).

B.     The University’s Departures from the Title IX Policy or Procedures
       Do Not Entitle Plaintiff to Injunctive Relief.

       Plaintiff argues that the University’s alleged violation of its procedural rules in

processing Plaintiff’s investigation require injunctive relief. But in the prior Doe cases, this

Court recognized the important distinction between an institution’s alleged violation of its own

procedures and a constitutional violation. “Plaintiffs need to do more than merely demonstrate

that the University violated its own procedures or rules.” Doe, Civil Action Nos. 3:02CV00030

& 3:02CV00031 at 13 (quoting Tigrett v. Rector & Visitors of the Univ. of Va., 137 F.Supp.2d

670, 677 (W.D.Va. 2001) (Tigrett II)). “This Court has previously found that a violation of the

Honor Committee’s by-laws is not necessarily a violation of constitutional due process, even if

the by-laws confer a procedural right.” Id. (quoting Tigrett v. Rector & Visitors of the Univ. of



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Va., 97 F.Supp2d 752, 758 (W.D.Va. 2000) (Tigrett I)). Thus, “[i]n the Fourth Circuit, ‘not

every departure from a state agency’s stated or customary procedures constitutes a denial of

constitutionally guaranteed procedural due process . . . Indeed, the fundamental principle seems

now established that in these cases the source of procedural guarantees is to be found solely in

the due process clause rather than in any specific procedures provided by the state.’” Id. at 13-14

(quoting Jones v. Board of Gov’rs of Univ. of N.C., 704 F.2d 713, 716-17 (4th Cir. 1983)).

       Plaintiff argues that the length of the University’s proceedings or its delay in rendering a

final outcome somehow deprive the University of authority to conclude its Title IX process.

This Court previously has rejected the same contention in the context of a student disciplinary

proceeding. See Padula v. Rector & Visitors of Univ. of Va., Civil Action No. 3:98CV00047

(W.D.Va. June 24, 1998) (denying motion for preliminary injunction to compel conferral of

degree where student’s disciplinary process spanned more than one year and student had

completed degree requirements) (attached).        “While this result is unfortunate, the delays

themselves, absent evidence that they prejudiced [plaintiff’s] ability to argue her case, do not

constitute constitutional violations.” Id. at n.9 (“A 9-month adjudication is not, of course,

unconstitutionally lengthy per se. . . . The chronology of the proceedings set out in the complaint,

coupled with the assertion that nine months is too long to wait, does not state a claim of a

constitutional violation.”) (quoting Cleveland Bd. of Educ. V. Loudermill, 470 U.S. 532, 547

(1985)). The University’s investigation of Plaintiff commenced on August 8, 2018. The Review

Panel Hearing which would have concluded the University’s process was scheduled to occur on

July 1, 2019. The time period of this investigation is longer than that in which the University

strives to complete its adjudicatory processes, but it does not constitute a constitutional violation




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entitling Plaintiff to injunctive relief that would short-circuit the University’s adjudication of a

sexual assault allegation.

       Additionally, Plaintiff claims that he has not (or will not) have an adequate opportunity to

respond to “new” information contained in the Final Investigation Report (FIR). See Compl. ¶ 8

(Doc. 1; pageid# 3) (“Mr. Doe was provided no opportunity to respond to the additional

information . . .”); ¶ 62 (pageid# 12) (“was not provided an opportunity to respond . . .”). That

is not correct. Plaintiff has at least two opportunities to respond to the FIR under the Title IX

Procedures – he can (and did) file a statement contesting the findings and conclusions in the FIR.

See Joint Stip. Ex 11 (Doc. 45-11; pageid# 400-02). Plaintiff also has a right to appear before

the Review Panel to challenge the findings and conclusions in the FIR. Plaintiff already has

availed himself of the first opportunity to be heard. After the FIR was issued, Plaintiff filed a

response to the FIR in which he disputes the analysis and conclusions in the Final Investigation

Report. See Id.

       Plaintiff’s continued request to have this Court intercede in the nearly concluded Title IX

process actually would prevent Plaintiff (and the Complainant Jane Roe) from having their

opportunity to be heard before the Review Panel regarding the findings and conclusions in the

Final Investigation Report. Under the Title IX Procedures, the Review Panel is charged with

reviewing the entire record 5 and holding a hearing:



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  Contrary to Plaintiff’s assertions, Plaintiff has not been prejudiced in any way by the
inadvertent failure to attach Plaintiff’s Supplemental Response and Supplemental Affidavit to the
Final Investigation Report (FIR). On January 25, 2019, Investigator Flood received Plaintiff’s
initial response to the Draft Investigation Report (DIR) and Plaintiff’s Affidavit. Flood Decl. ¶ 8.
On February 13, 2019, Investigator Flood received Plaintiff’s Supplemental Response to the DIR
and Plaintiff’s Supplemental Affidavit. Id. Investigator Flood considered all of Plaintiff’s
submissions before reaching his recommended findings in the FIR. Flood Decl. ¶ 8.
Investigator Flood attached to the Final Investigation Report, Plaintiff’s initial response to the
DIR and Plaintiff’s Affidavit. See Flood Decl. ¶ 9. But Investigator Flood inadvertently did not


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       to determine (1) whether the concerns stated by the contesting party raise
       substantial doubt about the thoroughness, fairness and/or impartiality of
       the investigation; and, if not, (2) whether there is sufficient evidence to
       support the Investigator’s recommended finding(s) by a Preponderance of
       the Evidence.

                                     *       *      *

       The Hearing is an opportunity for the parties to address the Review Panel,
       in person about issues relevant to the Standard of Review to be applied by
       the Review Panel. The parties may address any information in the Final
       Investigation Report, supplemental statements submitted in response to the
       Final Investigation Report, and any impact and mitigation statements.
       Each party has the opportunity to be heard, to identify witnesses for the
       Review Panel’s consideration, and to respond to any questions of the
       Review Panel.


Joint Stip. Ex. 4 (Doc. 45-4; pageid# 374). Thus, Plaintiff’s claims that he has not (and will not)

have an adequate opportunity to be heard in response to all of the information contained in the

Final Investigation Report simply are not true. That is the purpose of the Review Panel Hearing.

C.     The University’s Title IX Policy is not Vague or Overbroad.

       Plaintiff contends that the University’s Title IX Policy, which gives the University

authority to adjudicate conduct that occurs outside the context of University employment,

programs, or activities but has “continuing adverse effects” on the University’s students,

employees, or third parties is unconstitutionally vague and overbroad. Pl. Suppl. Mem. at 14-17

(Doc. 46; pageid# 421-24). Plaintiff’s argument is meritless.



attach to the FIR Plaintiff’s Supplemental Response and his Supplemental Affidavit. Flood
Decl. ¶ 9. Plaintiff has not been prejudiced by the inadvertent omission, and will not be
prejudiced, because Plaintiff’s supplemental materials can and will be supplied in the complete
package of information submitted to the Review Panel before the Review Panel hearing. Flood
Decl. ¶ 9. Accordingly, if this Court permits the University’s process to move forward to
conclusion, the Review Panel will have before it the full record. Moreover, as previously
explained, Plaintiff will have an equal opportunity to appear before the Review Panel to present
information relevant to the Panel’s determination.


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       In Hirschkop v. Snead, 594 F.2d 356, 370-371 (4th Cir. 1979), on which Plaintiff relies

heavily for his vagueness argument, the Fourth Circuit reviewed whether a disciplinary rule

prohibiting a lawyer participating in a trial from making any statements about “other matters that

are reasonably likely to interfere with a fair trial” was unconstitutionally vague in violation of the

First Amendment. Unlike in the First Amendment context, however, the vagueness doctrine

does not apply as rigidly in the school disciplinary context. See Smith v. Goguen, 415 U.S. 566,

573 (1974) (“Where a statute’s literal scope . . . is capable of reaching expression sheltered by

the First Amendment, the doctrine demands a greater degree of specificity than in other

contexts). In fact, the Supreme Court recognized that deference should be given to an

educational institution when it came to the degree of specificity required in student disciplinary

rules in light of the legitimate needs of the institution. Bethel Sch. Dist. No. 403 v. Fraser, 478

U.S. 675, 686 (1986) (“We have recognized that maintaining security and order in the schools

requires a certain degree of flexibility in school disciplinary procedures . . . Given the school’s

need to be able to impose disciplinary sanctions for a wide variety of unanticipated conduct

disruptive of the educational process, school disciplinary rules need not be as detailed as a

criminal code which imposes criminal sanctions.”) (internal citations and quotations omitted).

       The University’s policy regarding “continuing adverse effects” is similar to texts of a

student discipline regulation that was upheld by the Fourth Circuit. In Collins v. Prince William

Cnty. Sch. Bd., the Fourth Circuit upheld a district court’s finding which rejected a vagueness

challenge to a school regulation that granted the school authority to discipline students for

offences occurring off campus that were “connected in any way with school, or have a

detrimental effect on the school program.” 142 Fed. App'x 144, 146-47 (4th Cir. 2005). Just as

in Collins, the University’s Title IX Policy is not void-for-vagueness as a reasonable University




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student would have been on notice that committing a sexual assault in an off-Grounds apartment,

so near the Grounds, would have continuing adverse effects on the University and on others on

Grounds, thus subjecting him to the Title IX disciplinary process.

                                           Conclusion

       For the reasons stated above, the Court should deny Plaintiff’s request for injunctive

relief and permit the University to complete its disciplinary process and adjudicate the report of

sexual assault by Plaintiff




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Date: August 2, 2019

                                             Respectfully submitted,

                                             RECTOR AND VISITORS OF THE
                                             UNIVERSITY OF VIRGINIA, ET AL.



                                       By:   /s/ Barry T. Meek
                                                     Counsel

Timothy J. Heaphy (VSB No. 68912)
University Counsel and
 Senior Assistant Attorney General

Barry T. Meek (VSB No. 41715)
Associate University Counsel and
 Senior Assistant Attorney General

Melissa Wolf Riley (VSB No. 43316)
Associate University Counsel and
 Assistant Attorney General

Jasmine Yoon (VSB No. 73542)
Associate University Counsel and
 Assistant Attorney General

Office of the University Counsel
University of Virginia
P.O. Box 400225
Charlottesville, Virginia 22904-4225

Telephone:    (434) 924-3586
Facsimile:    (434) 982-3070
E-mail:       bmeek@virginia.edu




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                                        CERTIFICATE

       I hereby certify that on the 2nd day of August 2019, a true copy of the Defendant

University of Virginia’s Supplemental Memorandum in Opposition to Plaintiff’s Motion for

Preliminary Injunction was served by electronic means through the Court’s CM/ECF system on

counsel for Plaintiff as follows:

                               Rhonda Quagliana, Esq.
                               Francesca E. Fornari, Esq.
                               416 Park Street
                               Charlottesville, Virginia 22902
                               Telephone: (434) 296-7138
                               Facsimile: (434) 296-1301
                               Email: rq@stlawva.com
                               Email: fef@stlawva.com

                               Counsel for Plaintiff John Doe


                                                   RECTOR AND VISITORS OF THE
                                                   UNIVERSITY OF VIRGINIA, ET AL.


                                                   /s/ Barry T. Meek




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